           Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 1 of 12




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

MICHAEL J. DANIELS and BARBARA                          §
HIGH-DANIELS, et al.                                    §
                                                        §
           PLAINTIFFS                                   §
                                                        §
v.                                                      §      NO. 5:19-cv-01280-RBF
                                                        §
AETC II PRIVATIZED HOUSING, LLC;                        §
et al.                                                  §
       DEFENDANTS                                       §


          DEFENDANTS’ REPLY IN SUPPORT OF DEFENDANTS’ SUPPLEMENTAL
                 BRIEF [358] IN SUPPORT OF SUMMARY JUDGMENT


     I.         The Federal Enclave Doctrine Requires Dismissal of Plaintiffs’ Negligence and
                Nuisance Claims.

           A.      Pre-cession Texas law requires dismissal of Plaintiffs’ negligence claims because
                   they arise solely from the Lease and sound only in contract, not tort.

           Defendants made two arguments as to negligence. First, Plaintiffs’ action sounds in

contract, barring any attempt to plead in tort. Plaintiffs’ response ignores the first argument, thus

conceding it. Garner v. Martin Marietta Materials, Inc., No. 1:20-CV-01167-DAE, 2021 WL

4993487, at *2 (W.D. Tex. Oct. 27, 2021) (finding waiver where “Plaintiff did not respond to

Defendant's arguments in his brief”). On that ground, Plaintiffs’ tort claims should be dismissed.

           Second, pre-cession Texas law creates no general duty in tort for a landlord to repair a

tenant’s dwelling. On this argument, Plaintiffs misconstrue the holding of Ross v. Haner, 258 S.W.

1036 (Tex. Comm’n App. 1924). In Ross, there was an express promise to repair an upper-story

window latch, and the landlord knew that the tenant specifically feared that failure to install the

latch would lead to her child’s falling out. Ross, 258 S.W. at 1036. Finding that the repair had not



                                                   1
16364203.12
         Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 2 of 12




been made, the tenant “at once notified plaintiffs in error of this, and they advised her that they too

thought the repair had been made, and assured her that they would have it attended to at once. The

Petries, relying on this promise, did not know the fastening had not been placed on the screen until

after defendant in error fell and was injured.” Id. The issue at law was clearly stated in the opinion:

        Defendant in error [i.e., the plaintiff below] contends that where the landlord, for a valuable
        consideration, and as part of the contract of tenancy, agrees to make a specific repair to
        avert a condition of apparent danger, and fails through negligence to make such repair,
        which is a proximate cause of injury to the tenant’s infant child, he is liable for such injury,
        where it is clear that the safety of the child was within the mutual contemplation of
        the parties, and was the purpose for which the promise of repair was required and made.

Id. at 1037 (emphasis added). Plaintiffs have failed to offer any factual showing as to any of the

elements boldfaced above. There is no “specific repair” cited. There was no “condition of apparent

danger”; indeed, the Vinales have stipulated they incurred no personal injuries. The “mutual

contemplation of the parties” did not embrace any danger or safety issue, and this “purpose” was

ultimately why the landlord in Ross was held liable: the case carved out a narrow exception to the

general rule. The Ross decision is longwinded, but its actual holding is as follows:

        ... Ordinarily a contract by a landlord to repair is made with a view to comfort and
        convenience only, and not for the purpose of protecting the tenant or a member of his
        family from some threatened personal injury. In such case no duty would be implied to
        use care for protection against injury of this character. However, it being evident in the
        instant case that the plaintiffs in error entered into the contract to make this repair,
        contemplating at the time that their failure to do so would result in defendant in error
        falling from the window, their negligent failure to perform their contract rendered them
        liable for the injury.

Id. at 1042 (emphasis added). The only way for Plaintiffs to enjoy the Ross exception would have

been for them to show that a particular repair was sought for the purpose of averting “some

threatened personal injury,” that the landlord was on notice of that purpose, and that the landlord

in “contemplating” that purpose made the specific promise to carry out the particular repair,

resulting in the anticipated injury. Plaintiffs have not done so.

        The other cases cited by Plaintiffs do not alter this result. The decision in Burton-Lingo Co.

                                                   2
16364203.12
         Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 3 of 12




rejects “the idea that the lessor may be liable for defects which, in the exercise of reasonable care

the landlord could have discovered, for the reason that the tenant is, in law, required to exercise

the same degree of care to discover the dangerous condition of the premises as required by the

landlord.” Burton-Lingo Co. v. Morton, 126 S.W.2d 727, 734 (Tex. Civ. App.-Eastland 1939)

(quoting 36 C.J. 206, § 877), aff’d, 150 S.W.2d 239 (Tex. Comm’n App. 1941). Plaintiffs allege

that AETC Housing knew of a dangerous condition that it did not reveal, but they offer zero proof

that could create a fact issue for a jury, as this Court observed in dismissing their claims for fraud

or fraudulent concealment. Likewise, all the Goldstein Hat case shows is that in the absence of a

landlord’s promise to repair, a tenant must keep his premises safe. Goldstein Hat Mfg. Co. v.

Cowen, 136 S.W.2d 867, 873 (Tex. Civ. App.-Dallas 1939), writ dismissed, judgment correct.

        Moreover, Plaintiffs offer no authority for the notion that a landlord’s reserving the right

to make or approve repairs brings the tenant’s dwelling within the scope of a “common area” like

a passageway between units as in Paternostro v. Bradley, 262 S.W. 896, 898 (Tex. Civ. App.-

Dallas 1924). Finally, the remark in Jackson v. Amador that a tenant’s relative “can maintain an

action ex delicto against a landlord for breach of covenant with his tenant to make repairs,” Jackson

v. Amador, 75 S.W.2d 892, 893 (Tex. Civ. App.-Eastland 1934), writ dismissed, based on a citation

to Ross, cannot expand its holding beyond the narrow exception created in Ross. At most, the

language was mere obiter dictum: “But, that question is not before us for decision, for the jury

found that no covenant to repair was made by the landlord.” Id.

        AETC Housing contracted to provide repairs, and Plaintiffs can sue for breach of that

contract. But neither the applicable case law nor the facts offered in opposition to summary

judgment raise any issue of negligence for failure to carry out that contract. Plaintiffs’ claims for

negligence and gross negligence must be dismissed as a matter of law.



                                                  3
16364203.12
         Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 4 of 12




        B.      Pre-cession Texas law does not support Plaintiffs’ nuisance claims.

                1.     Pre-cession nuisance law does not encompass landlord-tenant disputes.

        The parties agree that “there are no pre-1952 Texas cases that address a nuisance cause of

action in connection with a landlord/tenant relationship.” [361 at 7]. Despite that recognition,

Plaintiffs implore this Court to reach into the “legal garbage can” of nuisance law, travel back in

time, and create a new cause of action in the present suit. William R. Prosser, Nuisance Without

Fault, 20 Tex. L. Rev. 399, 410 (1942); [361 at 7]. That is inappropriate and, equally important,

unnecessary here. This Court need not parse an area of law which “is incapable of any exact or

comprehensive definition” in search of a cause of action. Crosstex N. Tex. Pipeline, LP v.

Gardiner, 505 S.W.3d 580, 591 (Tex. 2016). This is a simple breach of contract case, and that is

the claim available here.1 The parties agree that the Lease contained a repair clause which requires

a “diligent effort to repair or remedy” where AETC Housing was given notice of damage. Because

Plaintiffs have failed to identify any case law where a nuisance claim was successfully brought

under similar facts, Counts 8 and 9 of the Amended Complaint must be dismissed.

                2.     Plaintiffs’ negligent nuisance claims must be dismissed.

        As explained above, Plaintiffs’ negligence claims must be dismissed because those claims

sound in contract and arise solely from the Lease. See Section I.A. Because a negligent nuisance

claim requires “the existence of negligence,” this claim must be dismissed as well. King v.

Columbian Carbon Co., 152 F.2d 636, 639 (5th Cir. 1945).

                3.     Plaintiffs’ intentional nuisance claims must be dismissed.

        Plaintiffs’ intentional nuisance claims must fail because they have not proved any intent to



        1 Forthe reasons stated in Defendants’ original summary judgment motion and reply, [260
at 15-17; 330 at 9-10], Plaintiffs have not demonstrated a breach of the Lease.

                                                 4
16364203.12
          Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 5 of 12




cause conditions constituting a nuisance. Columbian Carbon Co. v. Tholen, 199 S.W.2d 825, 828

(Tex. Ct. Civ. App.-Galveston 1947) (“voluntary, intentional conduct … with the consequences [a

defendant] knew were inevitably resulting … therefrom.”). In response, Plaintiffs pointed to the

Amended Complaint, a declaration stating that some unidentified conditions recurred, and their

work order history. [361 at 10-11]. This “evidence” dumped at the Court’s doorstep—even if

competent summary judgment evidence—shows only that Plaintiffs’ homes, like all homes, had

maintenance histories. Plaintiffs have not shown which conditions recurred, how frequently, nor

that Defendants intended the conditions to recur. While Plaintiffs’ work order history does suggest

that some issues—like a leaking toilet—occurred more than once, there is no dispute maintenance

responded to and fixed those complaints,2 and a leaking toilet does not mean, in and of itself, a

failure to repair, or that anyone intended that condition to recur. See [361-1 at 72, 74] (noting leak

in maid’s toilet on October 17, 2017 and March 13, 2019). These facts as a matter of law cannot

support a finding of intentional nuisance. Plaintiffs’ complaints of a condition which occurred

again cannot form the basis for any claim, much less an intentional nuisance claim.

    II.       Breach of Contract Claims of Spouses and Family Members Must Be Dismissed.

          Contrary to Plaintiffs’ argument, Ross is irrelevant to the question of third party beneficiary

status. Whether the tenant’s minor child could recover in contract against the landlord was not

addressed in Ross v. Haner. As the lower court decision that was affirmed makes more plain, the

case sounded in tort as a negligence action. See Ross v. Haner, 244 S.W. 231, 235 (Tex. Civ. App.-

Beaumont 1922), writ granted (Nov. 29, 1922), aff’d, 258 S.W. 1036 (Tex. Comm’n App. 1924).

          Plaintiffs are correct that this Court should consider the Lease as a whole in resolving



          2 Mrs.
              Vinales admitted that every work order her family submitted was completed. [260-
5 at 303:9-10].

                                                    5
16364203.12
         Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 6 of 12




whether family members are intended third party beneficiaries. As Plaintiffs’ brief recognizes, the

family members are directly mentioned only in Section 8 of the Lease, but that mere mention does

not mean what Plaintiffs say it does. The unambiguous purpose of listing the family members in

Section 8 is to assure that no one else resides in the dwelling. Section 8 begins, “Resident agrees

that the premises shall be occupied by his immediate family ...” [260-2 at ¶ 9] (emphasis added).

Only the resident makes this agreement, not the landlord, which does not itself “agree” that those

people will live there. Section 9 limits “use of premises” to family members. Id. Under the Lease,

the landlord is simply trying to assure that no one outside the family lives there. Shane Vinales

may have entered into the Lease intending to benefit his wife and children, but nothing in the Lease

demonstrates AETC Housing shared his intent.

        The test under pre-cession Texas common law is that the contract must state expressly, not

by implication, “direct liability to third persons,” and that the “intent to make an obligation inure

to the benefit of a third party must clearly appear in the contract, and if there is any doubt about

it, it should be construed against such intent.” Cannon Ball Motor Freight Lines v. Grasso, 59

S.W.2d 337, 343 (Tex. Civ. App. 1933), aff’d, 81 S.W. 2d 482 (Tex. Comm’n App. 1935)

(emphasis added). Nothing in the Lease indicates any intent on the part of AETC Housing to make

itself directly liable to family members for a breach of the Lease.

        Under Texas law, there are only three kinds of beneficiaries to another person’s promise:

creditor, donee, or incidental. Breaux v. Banker, 107 S.W.2d 382, 389 (Tex. Civ. App.-Beaumont

1937), rev’d on other grounds, 128 S.W.2d 23 (Tex. Comm’n App. 1939). The family members

are not creditor beneficiaries who would have the right to sue the landlord because it promised to

pay their debt owed to the resident. Id. They are not donee beneficiaries like a life-insurance

beneficiary, to whom the insurance company is obligated to pay a death benefit that is spelled out



                                                 6
16364203.12
           Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 7 of 12




in the policy. Id. Because they are neither kind of beneficiary, they are incidental beneficiaries

who cannot maintain an action on the Lease.

    III.        The Federal Enclave Doctrine Bars Additional Elements of Plaintiffs’ Damages.

           A.      Plaintiffs’ claims for personal property damage require expert testimony and
                   must be dismissed for lack of such testimony.

           Plaintiffs agree expert testimony is required to prove “matters upon which the typical juror

would not possess expert knowledge.” [361 at 16]. While jurors may have experience with mold

on cheese or in their shower, they have no experience with mold remediation for contents, and the

necessity and scope of that remediation. Kristi Beck-Miller—Plaintiffs’ own expert witness—

testified that (1) deciding the nature and scope of mold remediation of personal contents “is not

something that a plaintiff in this case can do on their own; they must have an expert to do it ….”

[245-4, at 32:17-19]; and (2) she had not done so. [260-8 at 119:11-120:14] (emphasis added).

           Here, Plaintiffs discarded a China hutch, bookcases, bed frames, a dresser, an entertainment

center, etc., claiming they were contaminated with mold and could not be remediated. [358 at 12

n.5]. Unlike with moldy cheese, jurors will not know from their own experience whether there was

contamination on any particular item, whether it could be cleaned, whether it should be discarded,

and what is the cost of cleaning versus the value of the item. Plaintiffs here discarded these items

based on their own subjective opinions. Expert opinion is critical here, and there is none. Plaintiffs

claim their “personal decision” to throw away property is all that matters. [361 at 16]. But if that

is the rule, then the duty to mitigate3 does not exist.

           Without expert testimony on causation and remediation, Plaintiffs have no evidence their




           3
          Cessac v. Leger, 214 S.W.2d 860, 864 (Tex. Civ. App. 1948) (recognizing plaintiff’s
“duty to mitigate his damages as much as was reasonably possible.”); [38 at 25; 39 at 25; 40 at 25]
(raising affirmative defense of failure to mitigate damages).

                                                    7
16364203.12
         Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 8 of 12




property was damaged by mold at all, much less beyond repair. Their property damage claims fail.

        B.     Plaintiffs have not proved that they are entitled to any of their rents.

        The duty to repair and the duty to pay rent are separate obligations under pre-cession Texas

law. Contrary to their argument [361, at 18-19], the Lease does not tie the resident’s duty to pay

rent with the landlord’s duty to “make a diligent effort to repair or remedy the condition at the

premises.” [260-2 at ¶ 19]. Section 19 of the Lease says “Resident will be held responsible for the

costs” if the resident causes damage to the premises, but it says nothing about “get[ting] a portion

of their rent returned.” Even if Plaintiffs attempt to prove that the residence was “uninhabitable”

(for which they offer zero evidence, other than their own assertions), Plaintiffs would be entitled

only to “surrender [of] possession of the Premises to Landlord.” [260-2 at ¶ 22]. These Plaintiffs

never surrendered possession, and want to have their cake (maintain possession) and eat it too (get

their rent back). Neither the Lease nor Texas law permit them to do so.

        As for the holding of Mitchell v. Weiss, it is true that Plaintiffs were free to offer some

proof as to reduction in the rental value of the premises, had they wished to do so:

        The usual measure applied is the reduced rental value; that is, the difference between the
        contract rental and the rental value in the unrepaired condition. 35 C. J. 1191.

        The present case is not one where the landlord has wholly breached his covenant to repair.
        At most the breach is but partial by failing to restore one of the buildings to as good
        condition as it was just before the fire. The tenant has not been disturbed in his possession
        of the buildings except in one of them, and then only during the brief period the repairs
        were being made. ... The proper measure of the tenant's damage in this case is the reduced
        rental value, if any, as indicated above.

Mitchell v. Weiss, 26 S.W.2d 699, 701 (Tex. Civ. App.-El Paso 1930). But Plaintiffs have failed

to offer any such proof. As in Mitchell, no failure to repair has been shown to be total, and Plaintiffs

remained in possession, living in the premises, storing their goods there, and denying landlord the

opportunity to rent the units to someone else.

        Thus, some competent proof of the difference in rental value would be required. In the

                                                   8
16364203.12
         Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 9 of 12




foregoing quotation from Mitchell, the court cited as authoritative 35 C.J. 1191, § 500 of the article

on “Landlord and Tenant.” This same section states: “By rental value is meant … fair value, to be

ascertained by proof of what the premises would rent for in the open market, or by evidence of

other facts from which the fair rental value may be determined.” 35 C.J. Landlord & Tenant 1191

n.99[b] (emphasis omitted).

        But Plaintiffs have not offered any such proof. See Umscheid v. City of San Antonio, 69

S.W. 496, 498 (Tex. Civ. App. 1902) (“For we have seen that the measure of damages for such

injury is the difference in the rental value of the land immediately before and after the injury, and

there was no evidence as to what this difference in value was.”) Plaintiffs have failed to put any

competent proof in the record as to the true reduction in rental value, if any.

        Proof of market values for real estate, rented or otherwise, typically is shown by the

testimony of experts. See State v. Clement, 252 S.W.2d 587, 588 (Tex. Civ. App. 1952) (mere

testimony “as to unaccepted offers which he had received for the land in question” did not qualify

real estate agent to testify to market value); Reeves v. City of Dallas, 195 S.W.2d 575, 579 (Tex.

Civ. App. 1946), writ refused NRE (expert on real estate values would consider “location and

environment of the property, the purchase and sale price in an open market of similar property in

the same or near-by vicinity, the price that was voluntarily paid for the property taken, the

availability of the property for similarly zoned business, the kind and character of occupancy, the

encumbrances, contracts, liens, leases, etc., and many other elements”); Foley v. Houston Belt &

Terminal Ry. Co., 110 S.W. 96, 98 (Tex. Civ. App. 1908) (“the proof of his long residence near

the property, together with the fact that he had been engaged in the real estate business–that is, in

negotiating sales and purchases of real estate–the prosecution of which business necessarily

required a peculiar and expert knowledge of the values of improved real estate in the city in which



                                                  9
16364203.12
          Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 10 of 12




he prosecuted his business, qualified him to testify as to the value of the entire property”); Cluck

v. Houston & T.C.R. Co., 79 S.W. 80, 81 (Tex. Civ. App. 1904) (witness “had shown such special

knowledge of the property and its uses as to entitle him to give his opinion as to its value and the

value of its use”). Plaintiffs have offered no such opinions, and can’t proceed without them.

          C.      Plaintiffs’ exemplary damages claims must be dismissed.

          Plaintiffs cannot show gross negligence, for the reasons set forth above, and have failed to

make any showing as to such willful and wanton conduct on the part of any Defendant that might

suffice to send the issue of exemplary damages to a jury.4 Plaintiffs’ response on this critical issue

is a conclusory sentence supported by zero evidence. [361 at 19]. Where is the “willful,” “wanton,”

or “malicious” conduct? Plaintiffs may be entitled to litigate whether Defendants made a “diligent”

effort to repair, but Plaintiffs’ silence on this issue is dispositive. See section I.A., above.

    IV.        Conclusion

          Per Defendants’ Supplemental Brief [358] and Motion for Summary Judgment [260],

Plaintiffs’ negligence and nuisance claims; all claims of Becky Vinales and their children; and

Plaintiffs’ damages for their personal property, rent, and exemplary damages should be dismissed.

          Respectfully submitted, this the 10th day of March 2023.

                                        /s/ Walter H. Boone
                                        Walter H. Boone, MS Bar No. 8651
                                        (admitted to W.D. of Tex. on 7/28/2020)
                                        Jennifer J. Skipper, State Bar No. 24076171
                                        Balch & Bingham LLP
                                        188 East Capitol Street, Suite 1400
                                        Jackson, Mississippi 39201-2133
                                        Telephone: 601-965-8182
                                        Facsimile: 866-501-9984
                                        E-Mail: jskipper@balch.com

          4
        The definition of gross negligence pre-cession is the same as post-cession. Rio Grande
Valley Tel. Co. v. Hocut, 93 S.W.2d 167, 170 (Tex. Civ. App. 1936) (citations omitted), writ
dismissed (May 27, 1936).

                                                   10
16364203.12
         Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 11 of 12




                                       wboone@balch.com

                                Julia W. Mann, State Bar No. 00791171
                                Erica Benites Giese, State Bar No. 24036212
                                JACKSON WALKER LLP
                                112 East Pecan Street, Suite 2400
                                San Antonio, Texas 782015
                                Telephone: 210-978-7761
                                Facsimile: 210-242-4646
                                E-Mail: jmann@jw.com
                                       egiese@jw.com
                                Attorneys for Defendants




                                         11
16364203.12
         Case 5:19-cv-01280-RBF Document 364 Filed 03/10/23 Page 12 of 12




                               CERTIFICATE OF SERVICE

        I hereby certify that on the 10th day of March 2023, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such filing to
the following:

              Randall A. Pulman, Esq.
              Ryan C. Reed, Esq.
              Matthew J. McGowan, Esq.
              Sarah Jackson, Donahue, Esq.
              PULMAN, CAPPUCIO, & PULLEN, LLP
              2161 NW Military Highway, Suite 400
              (210) 222-9494 Telephone
              (210) 892-1610 Facsimile
              E-Mail: rpulman@pulmanlaw.com
               rreed@pulmanlaw.com
               mmcgowan@pulmanlaw.com
               sdonahue@pulmanlaw.com

              James R. Moriarty, Esq.
              LAW OFFICES OF JAMES R. MORIARTY
              4119 Montrose, Suite 250
              (713) 528-0700 Telephone
              (713) 528-1390 Facsimile
              E-Mail: jim@moriarty.com

              Francisco Guerra, IV
              Jennifer Arlene Neal
              Robert E. Brzezinksi
              WATTS GUERRA, LLP
              Four Dominion Drive, Bldg. 3, Suite 100
              San Antonio, TX 78257
              (210) 477-0500
              E-Mail: fguerra@wattsguerra.com
               jneal@wattsguerra.com
               rbrzezinski@wattsguerra.com

                                     /s/ Walter H. Boone
                                     Walter H. Boone, MS Bar No. 8651
                                     (admitted to W.D. of Tex. on 7/28/2020)




                                               12
16364203.12
